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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    HYATT CORPORATION,                                   CASE NO. C20-0493-JCC
10                           Plaintiff,                    MINUTE ORDER
11            v.

12    THE CHEESECAKE FACTORY
      RESTAURANTS, INC.,
13
                             Defendant.
14

15
            The following Minute Order is made by direction of the Court, the Honorable John C.
16
     Coughenour, United States District Judge:
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            This matter comes before the Court on the parties’ stipulation and proposed order of
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     dismissal (Dkt. No. 32). Under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), a case may be
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     dismissed without a court order if there is a “stipulation of dismissal signed by all parties who
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     have appeared.” Here, all the parties that have appeared stipulate that the claims in this case
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     should be dismissed with prejudice and without an award of costs or attorney fees to either party.
22
     (Dkt No. 32 at 1.) Thus, under Federal Rule of Civil Procedure 41(a)(1)(A), this stipulation is
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     self-executing.
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            Pursuant to the stipulation, the Court ORDERS that this case is DISMISSED with
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     prejudice and without costs or attorney fees to either party. The Clerk is directed to CLOSE this
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     MINUTE ORDER
     C20-0493-JCC
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 1   case.

 2           DATED this 28th day of September 2021.
                                                      Ravi Subramanian
 3                                                    Clerk of Court
 4
                                                      s/Sandra Rawski
 5                                                    Deputy Clerk

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     MINUTE ORDER
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